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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     OHIO PUBLIC EMPLOYEES                              Case No. 21-cv-08812-JST
                                         RETIREMENT SYSTEM,
                                   8                    Plaintiff,                          ORDER TERMINATING MOTIONS;
                                   9                                                        REQUIRING ADDITIONAL
                                                 v.                                         BRIEFING; AND CONTINUING
                                  10                                                        HEARINGS
                                         META PLATFORMS, INC., et al.,
                                  11                                                        Re: ECF Nos. 22, 25, 27, 46, 49, 67
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                         BARRY G. DEPOT,                                    Case No. 21-cv-08873-JST
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                                                        Plaintiff,
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                                                                                            Re: ECF No. 19
                                                 v.
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                                         META PLATFORMS, INC., et al.,
                                  16
                                                        Defendants.
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                                  18     JUAN PEREZ,                                        Case No. 21-cv-09041-JST

                                  19                    Plaintiff,

                                  20             v.                                         Re: ECF No. 21

                                  21     META PLATFORMS, INC., et al.,

                                  22                    Defendants.

                                  23

                                  24          These cases are before the Court on competing motions to appoint lead plaintiff and lead

                                  25   counsel, and unopposed motions to consolidate.

                                  26          Rahul Saraf, KBC Asset Management NV, and Wee Ann Ngian have conceded that they

                                  27   are not the presumptively most adequate plaintiff because they do not have “the largest financial

                                  28   interest in the relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). These parties’
                                           Case 4:21-cv-08812-JST Document 68 Filed 03/03/22 Page 2 of 3




                                   1   motions are therefore terminated. Case No. 21-cv-08812, ECF Nos. 25, 46, 49; Case No.

                                   2   21-cv-08873, ECF No. 19; Case No. 21-cv-09041, ECF No. 21.

                                   3          The remaining motions to appoint lead plaintiff and lead counsel have been filed by Ohio

                                   4   Public Employees Retirement System (“Ohio PERS”) and PFA Pension, Forsikringsaktieselskab

                                   5   (“PFA Pension”), Case No. 21-cv-08812, ECF No. 25, and California Public Employees’

                                   6   Retirement System (“CalPERS”), Case No. 21-cv-08812, ECF No. 27. CalPERS raised questions

                                   7   in its opposition about Ohio PERS and PFA Pension’s adequacy to serve as lead plaintiffs. Ohio

                                   8   PERS and PFA Pension responded in their reply, including by providing a supplemental

                                   9   declaration, Case No. 21-cv-08812, ECF No. 63-3. CalPERS has not had an opportunity to

                                  10   respond to this supplemental evidence, and the Court will therefore require additional briefing.1

                                  11          Also, since the above motions were filed, Ngian v. Facebook, Inc. has been transferred to

                                  12   this district from the United States District Court for the Eastern District of New York and opened
Northern District of California
 United States District Court




                                  13   as Case No. 22-cv-01261. Ngian has been referred to this Court for consideration of whether it is

                                  14   related to these cases. Case No. 21-cv-08812, ECF No. 67.

                                  15          In light of all of the above, the Court sets the following schedule:

                                  16          1.      By March 18, 2022, CalPERS shall file a supplemental brief either withdrawing its

                                  17   opposition to Ohio PERS and PFA Pension’s motion or addressing the supplemental evidence

                                  18   filed by Ohio PERS and PFA Pension with their reply. This brief shall not exceed seven pages.

                                  19          2.      Ohio PERS and PFA Pension may file a supplemental reply, of no more than five

                                  20   pages, by March 25, 2022. They may not attach additional evidence to their reply brief.

                                  21          3.      Responses to the referral order regarding whether Ngian should be related by this

                                  22   Court are currently due on March 7, 2022. See Civil L.R. 3-12(e); Civil L.R. 7-11(b). The Court

                                  23   extends this deadline to March 11, 2022. In addition to expressing any opposition to or support

                                  24   for relating Ngian, the parties shall file by that date any opposition to or support for consolidating

                                  25   Ngian. If any statements in opposition to relation or consolidation are filed, parties may, but are

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                                        Although the Court is not required to consider evidence submitted with reply briefs, it will do so
                                  28   here. Ohio PERS and PFA Pension submitted information in direct response to issues raised by
                                       CalPERS in its opposition brief.
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                                           Case 4:21-cv-08812-JST Document 68 Filed 03/03/22 Page 3 of 3




                                   1   not required to, file a reply in support. Any replies are due by March 18, 2022.

                                   2          4.      The hearing on the motions filed by CalPERS and Ohio PERS and PFA Pension is

                                   3   continued to April 28, 2022.

                                   4          IT IS SO ORDERED.

                                   5   Dated: March 3, 2022
                                                                                       ______________________________________
                                   6
                                                                                                     JON S. TIGAR
                                   7                                                           United States District Judge

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Northern District of California
 United States District Court




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